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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION



  CELLULAR COMMUNICATIONS                         §
  EQUIPMENT LLC,                                  §
                                                  §
                        Plaintiff,
                                                  §
                                                  §           Civil Action No. 6:13-cv-507
  v.
                                                  §
  HTC Corporation, et al.,                        §
                                                  §
                        Defendants                §
                                                  §



  CELLULAR COMMUNICATIONS                         §
  EQUIPMENT LLC,                                  §
                                                  §
                        Plaintiff,
                                                  §
                                                  §          Civil Action No. 6:15-cv-1155
  v.
                                                  §
  HTC Corporation, et al.,                        §
                                                  §
                        Defendants                §
                                                  §

                        ORDER GRANTING AT&T MOBILITY LLC’S
                         UNOPPOSED MOTION TO CONSOLIDATE

         Before this Court is Defendant AT&T Mobility LLC’s Unopposed Motion to

  Consolidate Case No. 6:15-cv-1155 with related Case No. 6:13-cv-507.

         After considering the Motion and upon good cause shown, AT&T’s Motion is hereby

  GRANTED.

         It is hereby ORDERED that Case No. 6:15-cv-1155 is consolidated with Case No. 6:13-

  cv-507. Case No. 6:13-cv-507 shall serve as the lead case for future filings regarding Case No.

  6:15-cv-1155.
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            So ORDERED and SIGNED this 2nd day of February, 2016.
